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                                        UNITED STATES DISTRICT COURT
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                                      CENTRAL DISTRICT OF CALIFORNIA
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                SECURITIES AND EXCHANGE                      Case No. 8:10-cv-00849-AG (MLGx)
             12 COMMISSION,
                                                             ORDER GRANTING RECEIVER’S
             13                Plaintiff,                    MOTION FOR (1) APPROVAL OF
                                                             FINAL REPORT AND ACCOUNT,
             14          vs.                                 (2) APPROVAL OF FINAL
                                                             COMPENSATION OF THE
             15 WESTMOORE MANAGEMENT,                        RECEIVER AND HIS ATTORNEYS
                LLC; WESTMOORE INVESTMENT,                   AND ACCOUNTANTS,
             16 LP.; WESTMOORE CAPITAL                       (3) AUTHORITY TO DISBURSE
                MANAGEMENT, INC.;                            REMAINING FUNDS ON A PRO
             17 WESTMOORE CAPITAL, LLC; and                  RATA BASIS, (4) DISCHARGE OF
                MATTHEW R. JENNINGS,                         THE RECEIVER, AND
             18                                              (5) EXONERATION OF THE
                          Defendants.                        RECEIVER’S BOND
             19
                                                             Date: August 5, 2019
             20                                              Time: 10:00 a.m.
                                                             Place: Courtroom 10D
             21                                                     411 West Fourth Street
                                                                    Santa Ana, California
             22
             23
                         On August 5, 2019, the Court heard and considered the Receiver’s Final
             24
                   Report and Account and Motion for (1) Approval of Final Report and Account,
             25
                   (2) Approval of Final Compensation of the Receiver and His Attorneys and
             26
                   Accountants, (3) Authority to Disburse Remaining Funds on a Pro Rata Basis,
             27
                   (4) Discharge of the Receiver, and (5) Exoneration of the Receiver’s Bond (the
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                               ORDER APPROVING FINAL REPORT AND ACCOUNT
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               1 “Final Report”) filed by David A. Gill, Receiver, the Honorable Andrew J. Gilford,
               2 United States District Court Judge, presiding. Appearances were as noted on the
               3 record at the hearing.
               4        The Court having considered the Final Report (docket no. 283), the
               5 declarations of David A. Gill, John N. Tedford, IV, and Susan P. Tomlinson (docket
               6 nos. 284-286), and the Receiver’s separate notice of the Final Report (docket no.
               7 287), and having heard the statements of counsel at the hearing, for good cause
               8 appearing, it is
               9        ORDERED THAT:
             10         1.     The Final Report is approved.
             11         2.     The receivership imposed by this Court’s Judgment of Permanent
             12 Injunction, Appointment of Permanent Receiver, and Imposing Other Relief As to
             13 Defendants Westmoore Management, LLC; Westmoore Investment, L.P.; Westmoore
             14 Capital Management, Inc.; and Westmoore Capital, LLC, entered on August 12,
             15 2011, is hereby terminated.
             16         3.     David A. Gill (the “Receiver”) is hereby discharged from all further
             17 duties, liabilities and responsibilities as the court-appointed receiver in this action.
             18         4.     On a final basis, for services rendered during this case, the Receiver is
             19 awarded $211,296.00 of fees and $4,074.25 of costs. This includes $9,957.00 of fees
             20 and $84.41 of costs incurred from November 1, 2018, through the close of the case.
             21         5.     On a final basis, for services rendered during this case, Danning, Gill,
             22 Diamond & Kollitz, LLP (“DGDK”), is awarded $1,354,408.50 of fees and
             23 $30,055.79 of costs. This includes $90,450.00 of fees and $2,038.27 of costs
             24 incurred from November 1, 2018, through the close of the case.
             25         6.     On a final basis, for services rendered during this case, and pursuant to
             26 the terms of the engagement agreement approved by this Court’s order entered on
             27 August 6, 2012 (docket no. 129), Castillo Snyder, PC, is awarded $752,109.44 of
             28 fees and $62,818.16 of costs.
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               1        7.     On a final basis, for services rendered during this case, Crowe Horwath
               2 LLP (“Crowe”), is awarded $565,349.50 of fees and $932.28 of costs. This includes
               3 $21,283.50 of fees and $25.27 of costs incurred from November 1, 2018, through the
               4 close of the case.
               5        8.     On a final basis, for services rendered during this case as the Receiver’s
               6 forensic analyst, investigator and expert witness, PCG Consulting, PC, is awarded
               7 $482,588.95 of fees and $356.00 of costs.
               8        9.     The Receiver is hereby authorized to distribute remaining funds in the
               9 receivership estate to the Receiver, DGDK and Crowe, on a pro rata basis.
             10         10.    The Court finds that all the Receiver’s acts and transactions during his
             11 administration of the receivership estate, including the actions of his employees and
             12 agents, were right and proper and in the best interests of the receivership estate and
             13 the parties to this action. All such acts and transactions are ratified, confirmed and
             14 approved.
             15         11.    The Receiver and the receivership estate are hereby released from any
             16 and all liability for any and all claims, demands or causes of action that may have
             17 directly or indirectly arisen from the receivership estate prior to, during, or after the
             18 receivership period.
             19         12.    The Court hereby determines that the Receiver has no further duty or
             20 obligation to prepare or file further tax returns, or pay further taxes, on behalf of the
             21 receivership estate.
             22         13.    The Receiver is authorized to abandon remaining assets of the
             23 receivership estate, and any and all such assets shall be deemed abandoned upon
             24 entry of this order.
             25         14.    Any bond posted by the Receiver is hereby released from liabilities and
             26 the sureties thereon are hereby exonerated.
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               1           15.   The Court hereby reserves exclusive jurisdiction over any and all claims
               2 that may be asserted against the Receiver and his professionals and employees for
               3 their services, and all issues that were part of the subject matter of the receivership
               4 estate.
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                   DATED: August 5, 2019
               7                                        ANDREW J. GUILFORD
               8                                        UNITED STATES DISTRICT JUDGE

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                                 ORDER APPROVING FINAL REPORT AND ACCOUNT
